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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   IN RE:                                    *                  CASE NO. 17-12870
                                             *
   REILLY-BENTON COMPANY, INC.               *                  SECTION “A”
                                             *
         DEBTOR                              *                  CHAPTER 7
                                             *
   *******************************************

                                   CERTIFICATE OF SERVICE

          I certify that on the 21st day of January, 2021, a copy of the Brief of the Chapter 7 Trustee

   and the Century Parties Concerning Whether an Adversary Proceeding is Required to Adjudicate

   the Trustee’s Request for Injunctive Relief [P-99] was duly served by electronic filing through the

   Court’s Notice of Electronic Filing System to the parties listed on the attached Exhibit “A”.

   DATED this 22nd day of January, 2021.

                                                        Respectfully submitted,


                                                BY:      /s/ Albert J. Derbes, IV
                                                        ALBERT J. DERBES, IV, LA Bar 20164
                                                        THE DERBES LAW FIRM, LLC
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                                                        Special Counsel for David V. Adler, Trustee
 LAEB Live System                                                            Page 1 of 4
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                                                                                       Exhibit "A"
Miscellaneous:
17-12870 Reilly-Benton Company, Inc.
Type: bk                      Chapter: 7 v                          Office: 2 (New Orleans)
Assets: n                     Judge: MSG                            Case Flag: DECLECFRcv,
                                                                    ProHacVice

                                       U.S. Bankruptcy Court

                                    Eastern District of Louisiana

Notice of Electronic Filing

The following transaction was received from Albert J. Derbes entered on 1/21/2021 at 7:36 PM CST and
filed on 1/21/2021
Case Name:           Reilly-Benton Company, Inc.
Case Number:         17-12870
Document Number: 99

Docket Text:
Brief Concerning Whether an Adversary Proceeding is Required to Adjudicate the Trustee's Request for
Injunctive Relief Filed by David V. Adler, Century Indemnity Company, as Successor to CCI Insurance
Company, Seccessor to Insurance Company of North America (RE: (related document(s)[48] Motion to
Approve Compromise under Rule 9019 filed by Trustee David V. Adler, [56] Motion to Approve
Compromise under Rule 9019 filed by Trustee David V. Adler, [72] Objection filed by Creditor Landry
& Swarr Creditors, [95] Order Scheduling Status Conference) (Derbes, Albert)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:Brief_trustee and century_012121.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=988663450 [Date=1/21/2021] [FileNumber=12343895-0
] [91657515b467d09ed3477a71965b8dc55f12a88edc95b464213e21d86896dd04ee9
90b6694797564102ab9dcf581cf355179e527c00e05fb7f9bf1ee1a481ca5]]

17-12870 Notice will be electronically mailed to:

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17-12870 Notice will not be electronically mailed to:

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